                                Document717 Filed 06/27/25 Page 1 of 1 PageID #:
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    Case1:25-cv-00}12-LDH-VMS
   Case
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     IJNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
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                          Plaintif(s),                              JOINT PROPOSED
                                                              CIVI CASE MANAGEMENT PLAN
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                                                                       civ.2S-cv-   offi, ) ryMS)
OV of Nh^,o Ju,t< at "-t
                          Defendant(s)
                                                 --- x
      The parties/counsel who conferred in drafting this joint proposed case management plan:

      ForPlaintiff(s): R^ Se PIdntFS
      For Defendant(s): O fuur-aseun Ade,no,.e

  A. Do the parties request referral to the Court's ADR program? Y             No

  B. Do the          consent to proceed before a Magistrate Judge pursuant to 28 U.S.C. $ 636(c)?
          Yes         Ifyes, fill out the AO 85 Notice, Consent and Reference of a Civil Action to a
                      Magistrate Judge Form and file it on ECF. https://www.uscourts.gov/forms/civil-

          No         If no, do not indicate which party declines consent.

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  D. Defendant(s) will answer or otherwise respond to complaint by trune l\N?S, if not yet done.
     The parties will serve Rule 26(a)(1) initial disclosures bV ${tt'n\,' 57)of if not yet done.

                                                                                                        e/ .2$?-S
     The parties will serve initial document requests and interrogatories on or before Och\er

     Any joinder and/or amendments of the pleadings must be made by         fr\     31, .rOzs

     The parties will complete fact discovery bV Fetr*O,^t       j r 2-otd
                                               they will serve initial disclosures by nl/t
     If the parties perform expert discovery,
                                           -;.and                                          ^
                                                     rebuttal expert reports on or befor. Al'/A
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     initiat expertrd;;;;''
                                "ti;--
     All discovery, including .*p6.t depositions, will be completed by MaJ 4rrolS , and the parties
     will file a joint letter certiffing the close of all discovery by this same date.

     Other considerations the parties wish to bring to the Court's attention, such as the need for
     electronic discovery or confidentiality orde. CsnFdmh.'oJr\                   CIr,-ctgr
